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                                   WALDON ADELMAN CASTILLA
                                      MCNAMARA & PROUT
                                    A LIMITED LIABILITY PARTNERSHIP
                                      ATTORNEYS AT LAW
telephone (770) 953-1710            900 CIRCLE 75 PARKWAY                facsimile (770) 933-9162
                                          SUITE 1040
                                    ATLANTA, GEORGIA 30339

                                       December 20, 2023

Sent via Certified Mail
Amazon.com Services, LLC
c/o Corporation Service Company
2 Sun Court
Suite 400
Peachtree Corners, GA 30092

       Re:     Employee Name: Abdul Mian
               DOB: 03/03/1964
               My File Name: Abdul, Mian (Walmart)

Dear Sir/Madam:

       Attached hereto, please find defendants’ Subpoena to Produce Documents regarding the
above-referenced case. Defendants are requesting your employment records for plaintiff Mian
Abdul.

        My office is happy to reimburse your reasonable charges related to the copying of your
records in accordance with the Federal Rules. If this charge exceeds $250.00, please notify my
office in writing or contact my paralegal, Courtney Carlson, before sending the medical records
to obtain authorization. I have also enclosed a Certification for you to sign and return with the
documents. If you do not have any records concerning this patient, please return this letter with
your name and a handwritten note stating: “no records.”

       If you have any questions or concerns regarding this matter, please contact my
paralegal, Courtney Carlson, at ccarlson@waldonadelman.com.


                                               Sincerely,

                                               /s/Carolyn L. Lee

                                               Carolyn L. Lee
                                               WALDON ADLEMAN CASTILLA
                                               MCNAMARA & PROUT
Enclosures
         Case 1:23-cv-04254-SEG Document 15-1 Filed 12/20/23 Page 2 of 5




                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ABDUL MIAN,                                   )
                                              )      CIVIL ACTION FILE NO.:
                                              )      1:23-cv-04254-SEG
     Plaintiff,                               )
                                              )
v.                                            )
                                              )
WAL-MART STORES EAST, LP;                     )
SAM QUBTY AND JOHN DOE 1-5                    )
                                              )
        Defendants.                           )


                                   EXHIBIT “A”

        Employee Name: Abdul Mian
        DOB: 03/03/1964

       a) Any and all application forms, information forms and/or questionnaire

          forms completed by claimant;

       b) Any and all claims filed by or on behalf of the claimant;

       c) Your entire claim file for any loss involving the claimant and

       d) Records reflecting any payments to or on behalf of claimant.
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                     5.4(A) CERTIFICATE OF SERVICE

      Pursuant to Local Rule 5.4(A), I hereby certify that a copy of defendants’

Subpoena to Produce Documents was filed electronically on December 20, 2023

using the CM/ECF system in the United States District Court Northern District of

Georgia Atlanta Division with notice of the same to be electronically mailed by the

Court to the following attorneys of record:

                           Darl H. Champion, Jr., Esq.
                                Eric B. Funt, Esq.
                               The Champion Firm
                            445 Franklin Gateway, SE
                                    Suite 100
                               Marietta, GA 30067
                          champ@thechampionfirm.com
                           eric@thechampionfirm.com


      This 20th day of December, 2023.
                                              WALDON ADELMAN CASTILLA
                                              MCNAMARA & PROUT

                                              /s/ Carolyn L. Lee
                                              Steven R. Wilson
                                              Georgia Bar No. 614233
                                              Carolyn L. Lee
                                              Georgia Bar No. 772008
                                              Attorneys for Defendants


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Suite 1040
Atlanta, Georgia 30339
(770) 953-1710
swilson@waldonadelman.com
clee@waldonadelman.com
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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

ABDUL MIAN,                                   )
                                              )      CIVIL ACTION FILE NO.:
                                              )      1:23-cv-04254-SEG
     Plaintiff,                               )
                                              )
v.                                            )
                                              )
WAL-MART STORES EAST, LP;                     )
SAM QUBTY AND JOHN DOE 1-5                    )
                                              )
        Defendants.                           )

                      CERTIFICATION AND DECLARATION

       Before the undersigned officer, duly authorized by law to administer oaths,
came ________________________, who first being sworn, deposed, affirmed that
he/she is a custodian or other qualified person competent to attest to the following,
hereby certifies that the enclosed documents constitute the materials responsive to
the Request for Production of Documents in the care, custody and control of
Amazon.com Services LLC. Said employment records attached hereto are
certified to constitute records relating to the employment and such information is
kept in this institution as reasonably necessary. Further, these records were created
at or near the time of the described acts, events, conditions, opinions and/or
diagnoses; made by, or from information transmitted by, a person with personal
knowledge and a business duty to report; kept in the course of a regularly
conducted business activity; and it was the regular practice of that business activity
to make the memorandum, report, record, or data compilation.

        This the        day of                    , 2023.


                                       ____________________________
                                       Records Custodian


Sworn to and subscribed before me, this the
______ day of ___________________, 2023.
     Case 1:23-cv-04254-SEG Document 15-1 Filed 12/20/23 Page 5 of 5




___________________________
Notary Public
